       Case 2:20-cv-00078-DLR Document 210 Filed 09/27/22 Page 1 of 5



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 8                            UNITED STATES DISTRICT COURT
 9                                      DISTRICT OF ARIZONA
10    Ronald G. Harris, Jessica Perez; and Rodasia         NO. 2:20-cv-00078-DLR
      White, as Mother and Next Friend of A.H. and
11    J.H, the minor children of victim, as                DEFENDANT’S REPLY IN
      beneficiaries for the wrongful death in and          SUPPORT OF MOTION FOR
12    violation of civil rights of Jacob Michael           FEES AND COSTS
      Harris,
13
                          Plaintiffs,
14
                    v.
15
      City of Phoenix, Kristopher and Jane Doe
16    Bertz, David and Jane Doe Norman, John and
      Jane Does 1-10, Entities 1-10,
17
                         Defendants.
18
19          Plaintiffs do not contest the hours worked or the hourly rate proposed by Officer
20   Bertz’s (“Defendant”) counsel. Plaintiffs also do not dispute Defendant’s analysis of the
21   LRCiv 54.2(c)(3) factors. Those points are therefore conceded. The only two objections
22   Plaintiffs raise are that (1) Defendant did not “incur” any fees in this litigation and (2) a fee
23   award is preempted by federal law. Both objections are without merit.
24          Plaintiffs’ first objection largely tracks an objection they made regarding
25   Defendant’s Application for a Bill of Costs (doc. 202). The Court rejected Plaintiffs’
26   objections and awarded Defendant $4,322.95 out of $4,799.96 in taxable costs. (Doc. 208).
27   The reductions were only for certain materials that the Court considered non-taxable, not
28
       Case 2:20-cv-00078-DLR Document 210 Filed 09/27/22 Page 2 of 5



 1   because of Plaintiffs’ arguments. Because the Court overruled this very objection when
 2   awarding taxable costs, it should do so again when it comes to awarding fees.
 3          Regardless, Plaintiffs’ objection should be overruled on its own merits as well.
 4   Plaintiffs argue that, because the City of Phoenix was always going to pay Defendant’s legal
 5   expenses, Plaintiffs did not “incur” expenses within the meaning of Section 13-420. (Doc.
 6   209 at 4-5). Importantly, however, Defendant did not just move for fees under Section 13-
 7   420; Defendant also moved for fees under A.R.S. § 12-716. (Doc. 201 at 1, 4). Section 12-
 8   716(B), the fee portion of the statute, states in its entirety: “[i]f a party files a motion to
 9   dismiss or a motion for summary judgment pursuant to this section and the court grants the
10   motion, the court shall award the moving party costs and attorney fees.” Defendant did
11   move for summary judgment under Section 12-716 (doc. 162 at 11), and the Court granted
12   that motion. (Doc. 195 at 4). Section 12-716 does not use the phrase “incurred by a
13   defendant,” as Section 13-420 does. So, even accepting Plaintiffs’ argument as true as to
14   Section 13-420, state law still requires an award of fees under Section 12-716.
15          In any event, Plaintiffs’ interpretation of Section 13-420 is not borne out by the
16   statute. Plaintiffs attempt to graft on a requirement to Section 13-420 that Defendant must
17   have personally been expected to pay out-of-pocket for his own defense before the Court
18   may award attorney fees. That is inconsistent with the use of “shall award” in this context,
19   which contemplates mandatory fee shifting from an unsuccessful plaintiff to a prevailing
20   defendant. Additionally, this interpretation would sharply disincentivize indemnifying or
21   insuring officer defendants if a plaintiff could balloon litigation expenses, secure in the
22   knowledge that an insured or indemnified defendant will never be allowed to recover even
23   if they prevail. The natural reading of Section 13-420 is that a defendant is entitled to
24   attorney fees, even if a collateral source—such as the City of Phoenix—has indemnified
25   them for purposes of litigating the action.
26          Plaintiffs’ second objection is that A.R.S. § 13-420 is preempted by federal law.
27   (Doc. 209 at 7-8). Although Defendant included a section in his Motion explaining why 42
28   U.S.C. § 1988 did not preempt the Motion (doc. 201 at 5-6), Plaintiffs did not respond to it.
                                                    2
       Case 2:20-cv-00078-DLR Document 210 Filed 09/27/22 Page 3 of 5



 1   Instead, Plaintiffs point the Court to the field preemption analysis in Anderson v. Armour,
 2   No. CV-16-03563-PHX-JJT, 2021 U.S. Dist. LEXIS 205284 (D. Ariz. Oct. 25, 2021). In
 3   essence, Plaintiffs interpret Anderson and the Ninth Circuit’s decision in Harris v.
 4   Maricopa Cnty. Sup. Ct., 631 F.3d 963, 968 (9th Cir. 2010) to mean that, if the civil rights
 5   statutes are ever implicated in a lawsuit, then 42 U.S.C. § 1988 automatically preempts any
 6   attorney fee award that is not for frivolous claims. (Doc. 209 at 9). This is incorrect. After
 7   a civil rights claim has been dismissed and the only remaining claim is a state law claim,
 8   there can be no field or conflict preemption.
 9          Plaintiffs largely attempt to gloss over the key distinction between the analysis in
10   Anderson and the analysis here. Plaintiffs describs the difference as “Plaintiff’s federal civil
11   rights claims were dismissed before the fees at issue were incurred. Thus, the provisions of
12   A.R.S. § 13-420 and 42 U.S.C. § 1988 are [sic] not in direct conflict with respect to
13   simultaneously litigated claims.” (Doc. 209 at 8). That is true, but what the court in
14   Anderson specifically said on this topic was “[d]efendants are not entitled to attorneys’ fees
15   under Section 13-420 absent a showing that the fees at issue were not incurred to defend
16   the federal claims.” Anderson, 2021 U.S. Dist. LEXIS 205284 at *8. (Emphasis added).
17   Indeed, in analyzing whether fees were allowable, the Anderson court looked to conflict
18   preemption and the differing standards between 42 U.S.C. § 1988 and A.R.S. § 13-420—
19   when both claims remained in the lawsuit through trial and the civil rights claims were not
20   frivolous.1 See Bernhardt v. L.A. County, 339 F.3d 920, 929 (9th Cir. 2003) (a “hostile state
21   rule is preempted to the extent it actually interferes with the ‘methods by which the federal
22   statute was designed to reach [its] goal.”). Conflict preemption does not exist here because
23   there were no federal claims pending in the lawsuit during the time frame that Defendant is
24   seeking fees. Thus, there is no hostility to federal law based upon claims that had been
25   dismissed and were not at issue during the litigation of the state claims. Indeed, in Anderson,
26
            1
27           Although not necessary to the Court’s analysis because there were no federal claims
     pending for the period of time at issue, Defendants assert that Plaintiffs’ civil rights claims
28   were frivolous. Anderson’s analysis requires that the civil rights claims be non-frivolous.
                                                     3
       Case 2:20-cv-00078-DLR Document 210 Filed 09/27/22 Page 4 of 5



 1   the Court noted that if the defendants had been able to establish that the fees not incurred to
 2   defend the federal claims, the court could have awarded the fees that related only to the
 3   state law claims.
 4          As Plaintiffs must necessarily acknowledge, none of the fees Defendant requests
 5   here were incurred defending federal claims. (Doc. 201 at 6). It does not pass the straight
 6   face test to argue that moving for summary judgment—on state law only claims—is
 7   somehow tied to litigating civil rights claims that were dismissed months earlier for lack of
 8   standing. The barrier to awarding fees the court in Anderson identified is not present here.
 9   There is no preemption because there were no non-frivolous civil rights claims remaining.
10   Finding preemption under the facts presented in this case would work an unconstitutional
11   overreach. Further, awarding fees in this context would not result in “punishing civil rights
12   claimants” or chilling civil rights claims. By definition, granting Defendant’s Motion would
13   not run the risk of making future plaintiffs pay for filing Section 1983 claims, because
14   Defendant is not requesting this Plaintiffs pay anything for filing a Section 1983 claim.
15   Instead, because Plaintiffs invoked Arizona’s wrongful death statute to assert a claim for
16   liability against Defendant, it is entirely fair to apply Arizona law against that claim.
17   Defendant’s Motion should be granted.
18
19          DATED this 27th day of September, 2022.
20                                              WIENEKE LAW GROUP, PLC
21
                                         By:    /s/ Christina Retts
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                                                    4
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 1                               CERTIFICATE OF SERVICE
 2         I hereby certify that on September 27, 2022, I electronically transmitted the attached
 3   document to the Clerk's Office using the CM/ECF System for filing and transmittal of a
 4   Notice of Electronic Filing to the following CM/ECF registrants:
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                  Attorney for Plaintiffs
10         I hereby certify that on this same date, I served the attached document by U.S. Mail,
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